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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 STANDING ROCK SIOUX TRIBE, YANKTON
 SIOUX TRIBE; ROBERT FLYING HAWK;
 OGLALA SIOUX TRIBE,                Case No. 1:16-cv-1534-JEB
                                    (and Consolidated Case Nos. 16-cv-
              Plaintiffs,           1796 and 17-cv-267)
    and
 CHEYENNE RIVER SIOUX TRIBE; SARA
 JUMPING EAGLE ET AL.,
                 Plaintiff-Intervenors,
            v.
 U.S. ARMY CORPS OF ENGINEERS,
                 Defendant-Cross Defendant,
    and
 DAKOTA ACCESS, LLC,
                 Defendant-Intervenor-Cross
                 Claimant.

                             ______________________________

            INTERVENOR DEFENDANT DAKOTA ACCESS, LLC’S
     MOTION TO EXTEND STAY OF RESOLUTION OF MOTION TO COMPEL
          PROMPT COMPLETION OF ADMINISTRATIVE RECORD
                    ______________________________

       In accordance with the Court’s January 15, 2019 Minute Order, Intervenor Defendant Da-

kota Access, LLC (“Dakota Access”) respectfully moves the Court to extend the stay of resolution

of Dakota Access’s Motion to Compel Prompt Completion of the Administrative Record (“Motion

to Compel”), D.E. 216, while Dakota Access continues to pursue the outstanding records through

other means. The Minute Order requires Dakota Access to inform the Court on or before February

14, 2019 “whether it will withdraw the Motion, seek a further stay of the Motion, or ask for the

Court to resolve it.” Dakota Access continues to pursue many of the relevant records through a
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Freedom of Information Act (“FOIA”) request to the Department of Justice, Department of the

Army, Department of Interior, and Council for Environmental Quality. However, Dakota Access’s

FOIA request is still in process.1 Accordingly, Dakota Access respectfully requests that the Court

further stay consideration of its Motion to Compel to allow time for processing Dakota Access’s

FOIA request.

                                         CONCLUSION

        For the foregoing reasons, Dakota Access respectfully requests that the Court grant its

motion to extend the stay of resolution of its Motion to Compel.


 Dated: February 14, 2019                            Respectfully submitted,


                                                      /s/ William S. Scherman
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 1
     Similarly worded FOIA requests were directed at each of these four government bodies. One
     of them, the Department of the Army, provided its response last month. It is deficient in that
     it merely directs Dakota Access to a publicly available compilation of the Administrative
     Record that the Corps lodged with this Court, and that Dakota Access already received, more
     than seventeen months ago. Dakota Access will therefore continue to seek a complete re-
     sponse from the Department of the Army.

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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 14th day of February, 2019, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                     /s/ William S. Scherman
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